16 F.3d 403
    Holdampf (Frank J.)v.Fidelity &amp; Casualty Company of New York, NavistarInternational Corporation, Sears Roebuck &amp; Co., J. B. HuntTransport Services, Inc., Tolar (James N.), Roman &amp; Roman,Attorneys, Tirdad (Amira Zodi), Pennsylvania Department ofTransportation Center for Highway Safety
    NO. 93-3201
    United States Court of Appeals,Third Circuit.
    Dec 17, 1993
    
      Appeal From:  W.D.Pa.,
      Mencer, J.
    
    793 F.Supp. 111
    
      1
      AFFIRMED.
    
    